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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 19, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following documents via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Debtors' Second Motion for Entry of an Order Extending the Deadline by Which
         Debtors May File Notices to Remove Actions [Docket No. 922]

    •    Debtors' Second Motion for an Order Extending the Deadline for the Debtors to
         Assume or Reject Unexpired Leases of Nonresidential Real Property Pursuant to 11
         U.S.C. § 365(d)(4) [Docket No. 923]

    •    Notice of Rescheduled Confirmation Hearing Date and Time [Docket No. 924]

       Furthermore, on January 19, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following documents via First Class Mail upon the service list
attached hereto as Exhibit C:

    •    Debtors' Second Motion for Entry of an Order Extending the Deadline by Which
         Debtors May File Notices to Remove Actions [Docket No. 922]

    •    Debtors' Second Motion for an Order Extending the Deadline for the Debtors to
         Assume or Reject Unexpired Leases of Nonresidential Real Property Pursuant to 11
         U.S.C. § 365(d)(4) [Docket No. 923]



1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       Furthermore, on January 19, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit D; and via First Class Mail upon the service list attached hereto as
Exhibit E:

   •   Debtors' Second Motion for Entry of an Order Extending the Deadline by Which
       Debtors May File Notices to Remove Actions [Docket No. 922]

       Furthermore, on January 19, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit F; and via First Class Mail upon the service list attached hereto as
Exhibit G:

   •   Debtors' Second Motion for an Order Extending the Deadline for the Debtors to
       Assume or Reject Unexpired Leases of Nonresidential Real Property Pursuant to 11
       U.S.C. § 365(d)(4) [Docket No. 923]

Dated: January 25, 2024
                                                   /s/ Esmeralda Aguayo
                                                   Esmeralda Aguayo
                                                   KCC
                                                   222 N Pacific Coast Highway, 3rd Floor
                                                   El Segundo, CA 90245
                                                   Tel 310.823.9000




                                              2
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                    Exhibit A
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                                                                                Exhibit A
                                                                         Core/2002 Service List
                                                                        Served via Electronic Mail



                Description                               CreditorName                       CreditorNoticeName                             Email
                                                                                                                          daniel.guyder@allenovery.com;
                                                                                                                          bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                                    chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                                  Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                                 Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                     Allen & Overy LLP                      Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
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 and Foxconn EV System LLC                     Allen & Overy LLP                      Michael Modesto Gale                michael.modestogale@allenovery.com
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 Corp.                                         Austria Legal, LLC                     Matthew P. Austria                  maustria@austriallc.com

 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.                Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
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                                                                    Core/2002 Service List
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                                                                      Exhibit A
                                                               Core/2002 Service List
                                                              Served via Electronic Mail



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                    Exhibit B
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                                                                                                            Exhibit B
                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



             Description                     CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip      Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy             Carvel State
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
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                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
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  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
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  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
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  operations)                          Illinois Attorney General         Attn Bankruptcy Department       James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
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                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                        PO Box 7346                                                          Philadelphia      PA    19101-7346
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  Attorney General of NC (emp
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  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
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  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity                                                                                                                                                                                      United
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                                                                                                     Exhibit B
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



             Description                    CreditorName              CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
  Unsecured Creditors              SA Automotive LTD             Shar Hedayat                      1307 Highview Dr                                                 Webberville     MI      48892
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich         1307 Highview Drive                                              Webberville     MI      48892
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                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                        31240 Stephenson Hwy                                             Madison Heights MI      48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department        300 W. 15th St                                                   Austin          TX      78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




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                    Exhibit C
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                                                                    Exhibit C
                                                             Lienholders Service List
                                                            Served via First Class Mail

                                    CreditorName                     Address1                  City  State     Zip
                           COMPETITION ENGINEERING, INC     975 COMSTOCK STREET             MARNE    MI    49435-8751
                           HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                           SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                           PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                           PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341




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                    Exhibit D
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                                                         Exhibit D
                                              Litigation Parties Service List
                                                Served via Electronic Mail

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                                                                                david@ekrtlaw.com;
                                          ELFVIN, KLINGSHIRN, ROYER &           stuart@ekrtlaw.com;
 An Thai                                  TORCH, LLC                            chris@ekrtlaw.com
 An Thai                                  THE BROWN LAW FIRM, P.C.              tbrown@thebrownlawfirm.net
 Angela Strand                                                                  Email Redacted

 Angela Strand dba Strand Strategy                                              Email Redacted
 Ashith Pabbathi                          c/o Lucas E. Gilmore                  lucasg@hbsslaw.com
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 Ashith Pabbathi                          SHAPIRO LLP                           steve@hbsslaw.com
 Bandol Lim Individually and on           Climaco Wilcox Peca & Garofoli Co,
 Behalfof all Others Similarly Situated   LPA                                   sdsimp@climacolaw.com
 Bandol Lim Individually and on                                                 ipress@kmllp.com;
 Behalfof all Others Similarly Situated   Kirby Mcinerney LLP                   lmolinaro@kmllp.com
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 Behalfof all Others Similarly Situated   The Law Offices of Frank R. Cruz      fcruz@frankcruzlaw.com
 Bandol Lim, as Plaintiff in the
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                                                                                cspringer@andrewsspringer.com;
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   M.R.S. Leasing Corporation LTD          c/o Perez & Morris LLC         300                                                                     Columbus       OH           43235
                                                                                                            8000 Ravines Edge
   Mario Guerrero                          Juan J. Perez                  c/o Perez & Morris LLC            Court, Suite 300                      Columbus       OH           43235
   Mark A. Walsh                                                          Address Redacted
   Martin Rucidlo                                                         Address Redacted
   Matthew Rico                            Cooch and Taylor               1000 N. West Street            Suite 1500                               Wilmington     DE           19801
                                                                                                         260 Franklin Street Ste
   Matthew Rico                            Jeffrey C. Block               Block & Leviton                1860                                     Boston         MA           02110
                                           Jonathan A. Choa, Michael A.                                  1313 N. Market St.,
   Michael D. Gates                        Pittenger                      Potter Anderson & Corroon, LLP Hercules Plaza, 6th Flr.    PO Box 951   Wilmington     DE           19899-0951
   Michael Fabian                                                         Address Redacted
   Michael Gates                                                          Address Redacted
   Mickey W. Kowitz                                                       Address Redacted
   Mohammed Chowdhury                      Joseph F. Murray               Murray, Murphy, Moul & Basil   1114 Dublin Road                         Columbus       OH           43215
   Nico Gatzaros, as Lead Plaintiff                                                                      250 Park Avenue, Suite
   Movant in the Securities Class Action   Thomas W. Elrod                Kirby McInerney LLP            820                                      New York       NY           10177
   Nico Gatzaros, as Lead Plaintiff
   Movant in the Securities Class Action                                  Address Redacted
   Phil Schmidt                                                           Address Redacted
   Pnina Cohen                             Joseph F. Murray               Murray, Murphy, Moul & Basil      1114 Dublin Road                      Columbus       OH           43215
   Punak Egineering Inc                    Stephen Punkak                 63 Via Pico Plaza                 #223                                  San Clemente   CA           92672
   Randy Slipher                           James R. Cummins               Cummins Law                       312 Walnut Street                     Cincinnati     OH           45202
   Raymond Romano                          Cooch and Taylor               1000 N. West Street               Suite 1500                            Wilmington     DE           19801
                                                                                                            7777 Glades Road Ste
   Raymond Romano                          Lester R. Hooker               Saxena White                      300                                   Boca Raton     FL           33434
   Raymond Romano                          Saxena White P.A.              7777 Glades Road                  Suite 300                             Boca Raton     FL           33434
   Richard Dowell, as Lead Plaintiff
   Movant in the Securities Class Action   Richard Dowell                 123 N Pierce Street                                                     Crestline      OH           44827
   Richard Dowell, as Lead Plaintiff
   Movant in the Securities Class Action                                  250 Park Avenue, Suite 820                                              New York       NY           10177
   Richard Schmidt                                                        Address Redacted
   Richard Schmidt                                                        Address Redacted
   Robert Miller                           Robert J. Wagoner              Dittmer, Wagoner & Steele         107 W. Johnstown Road                 Gahanna        OH           43230
                                                                                                            12750 High Bluff Drive
   Robert Palumbo                          David R. Kaplan                Saxena White                      Ste 475                               San Diego      CA           92130
   Roberto Palumbo                         Cooch and Taylor               1000 N. West Street               Suite 1500                            Wilmington     DE           19801
   Roberto Palumbo                         Saxena White P.A.              7777 Glades Road                  Suite 300                             Boca Raton     FL           33434




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                                                                                                  Exhibit E
                                                                                       Litigation Parties Service List
                                                                                        Served via First Class Mail



              CreditorName                      CreditorNoticeName                 Address1                      Address2           Address3         City        State      Zip   Country
   Shane Brown                                                           Address Redacted
   Silverpeak Credit Partners LP          Jonathan Socolow, Esq.         40 W 57th Street, 29th Floor                                          New York     NY           10019
   Silverpeak Real Estate Partners L.P.                                  40 W 57th Street, 29th Floor                                          New York     NY           10019
   Silverpeak Renewables Investment
   Partners LP                                                           40 W 57th Street, 29th Floor                                          New York     NY           10019
   Silverpeak Strategic Partners LLC                                     40 W 57th Street, 29th Floor                                          New York     NY           10019
   Simha Cohen                            Joseph F. Murray               Murray, Murphy, Moul & Basil     1114 Dublin Road                     Columbus     OH           43215
   SP SPAC Sponsor LLC                                                   40 W 57th Street, 29th Floor                                          New York     NY           10019
   Stephen Burns                                                         Address Redacted
   Stephen S. Burns                                                      Address Redacted
   Stephen S. Burns                                                      Address Redacted
   Stephen S. Burns                                                      Address Redacted
   Steve Hash                                                            Address Redacted
                                                                                                          127 Public Square Ste
   Steven R. Hash                         Douglas L. Shively             Baker & Hostetler                200                                  Cleveland    OH           44114
   Steven Terry                           James R. Cummins               Cummins Law                      312 Walnut Street                    Cincinnati   OH           45202
   Sulayman Zuod                          Cooch and Taylor               1000 N. West Street              Suite 1500                           Wilmington   DE           19801
   Sulayman Zuod                          Murray Murphy Moul & Basil     1114 Dublin Road                                                      Columbus     OH           43215
                                          Samuel H. Rudman and Mary K.   Robbins Geller Rudman & Dowd     58 South Service Road,
   Sulayman Zuod                          Blasy                          LLP                              Suite 200                            Melville     NY           11747




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                    Exhibit F
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                                                   Exhibit F
                                            Landlords Service List
                                           Served via Electronic Mail

                      CreditorName          CreditorNoticeName                   Email
                                           Aidenbaum Schloff and
              275 Hills Tech Ventures LLC Bloom PLLC              ssturing@aidenbaum.com
                                                                  john@ventureinv.com;
              275 Hills Tech Ventures LLC                         ashulin@libertypropertymgmt.com
                                                                  eabke@libertypropertymgmt.com;
              275 Hills Tech Ventures, LLC Erica Abke             jshulin@spmc.net
              Applied Medical Resources Nabil Hilal - Group       nabil@appliedmedical.com;
              Corporation                  President - Technology contracts@aircre.com
              Applied Medical Resources
              Corporation                  Zoran Falkenstein      zfalkenstein@appliedmedical.com
              Applied Medical Resources
              Corporation                                         nabil@appliedmedical.com
              Foxconn EV Property
              Development LLC              Attention Jerry Hsiao  jerry.hsiao@foxconn.com
              Foxconn EV Property          Attn Jerry Hsiao and   jerry.hsiao@foxconn.com;
              Development LLC              Steven Yu              stevenyu@foxconn.com
              Foxconn EV Property
              Development LLC              Paul Hastings LLP      mikehuang@paulhastings.com
              Foxconn EV Property                                 puwei.huang@foxconn.com;
              Development LLC              Puwei Huang            Alan.chang@fewidev.com
              GAC R and D Center Silicon Fan Zhang, General
              Valley, Inc.                 Manager                zhangfan@gacrnd.com
              GAC R and D Center Silicon
              Valley, Inc.                 Marc N. Swanson        swansonm@millercanfield.com
              GAC R&D Center Silicon
              Valley, Inc                  Max Fong               mfong@gacrndusa.com




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                    Exhibit G
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                                                                               Exhibit G
                                                                        Landlords Service List
                                                                       Served via First Class Mail

           CreditorName                 CreditorNoticeName          Address1           Address2          Address3           City        State      Zip       Country
                                       Aidenbaum Schloff and 6960 Orchard Lake                                        West Bloomfield
  275 Hills Tech Ventures LLC          Bloom PLLC             Road, Suite 250                                         Township          MI      48322
  275 Hills Tech Ventures LLC                                 P.O. Box 668                                            Troy              MI      48099
  275 Hills Tech Ventures, LLC         Erica Abke             PO Box 668                                              Troy              MI      48099
  Applied Medical Resources            Nabil Hilal - Group    22872 Avenida                                           Rancho Santa
  Corporation                          President - Technology Empresa                                                 Margarita         CA      92688
  Applied Medical Resources                                   22872 Avenida                                           Rancho Santa
  Corporation                          Zoran Falkenstein      Empresa                                                 Margarita         CA      92688
  Applied Medical Resources                                   22872 Avenida                                           Rancho Santa
  Corporation                                                 Empresa                                                 Margarita         CA      92688
                                                              c/o Hon Hai                            Tucheng
  Foxconn EV Property                                         Precision Industry   No. 66, Zhongshan Industrial Zone
  Development LLC                      Attention Jerry Hsiao  Co., Ltd             Road              Tucheng District New Taipei City           23680        Taiwan
  Foxconn EV Property                  Attn Jerry Hsiao and
  Development LLC                      Steven Yu              4568 Mayfield Rd.    Ste. 204                           Cleveland         OH      44121
  Foxconn EV Property
  Development LLC                      Paul Hastings LLP      Attn Mike Huang      200 Park Avenue                    New York          NY      10166
  Foxconn EV Property                                         2300 Hallock Young
  Development LLC                      Puwei Huang            Rd                                                      Warren            OH      44481
  GAC R and D Center Silicon           Fan Zhang, General     No. 668 Jinshan      Panyu District,
  Valley, Inc.                         Manager                Road East            Guangzhou                          Guangdong                              China
                                                              Miller, Canfield,
  GAC R and D Center Silicon                                  Paddock and Stone, 150 West Jefferson
  Valley, Inc.                         Marc N. Swanson        P.L.C.               Suite 2500                         Detroit           MI      48226
  GAC R&D Center Detroit, LLC          Ding Dong              38555 Hills Tech Dr.                                    Famington Hills   MI      48331
  GAC R&D Center Silicon Valley,                              780 Montague Expy
  Inc                                  Max Fong               Ste 702                                                 San Jose          CA      95131-1321
                                                              260 E Brown St
  Willowgreen Building Group, LLC                             Suite 340                                               Birmingham        MI      48009




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